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13                              UNITED STATES DISTRICT COURT

14                            NORTHERN DISTRICT OF CALIFORNIA,

15                                 SAN FRANCISCO DIVISION

16

17 GUARDANT HEAL TH, INC.,                     CASE NO. 3:21-CV-04062-EMC

18               Plaintiff,                    NATERA, INC'S NOTICE OF EX PARTE
                                               APPLICATION FOR A TEMPORARY
19        vs.                                  RESTRAINING ORDER AND
                                               MEMORANDUM IN SUPPORT
20 NATERA, INC.,                               THEREOF

21               Defendant.

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                                                                       Case No. 3:21-cv-04062
                                            APPLICATION FOR TEMPORARY RESTRAINING ORDER
        Case 3:21-cv-04062-EMC Document 62 Filed 07/20/21 Page 2 of 3




 1          TO PLAINTIFF/CROSS-DEFENDANT GUARDANT HEALTH, INC. AND ITS COUNSEL

 2   OFRECORD:

 3          PLEASE TAKE NOTICE that on a date and time to be assigned by the Court, in the

 4   courtroom of the Honorable Edward M. Chen at the United States District Court for the Northern

 5 District of California, 450 Golden Gate A venue, San Francisco, California, Defendant/Cross-

 6   Complainant Natera, Inc. ("Natera") move this Court for a temporary restraining order ("TRO") and

 7   order to show cause re: a preliminary injunction against Plaintiff/Cross-Defendant Guardant Health,

 8 Inc. ("Guardant").

 9          This application is made pursuant to Rule 65 of the Federal Rule of Civil Procedure and Local

10 Rule 65 .1 of the Local Rules of the United States District Court for the Northern District of California.

11   It is based on Guardant' s new "Product Launch" marketing campaign, in which its substantially

12   expanded marketing team makes false and misleading statements regarding the performance of

13 Reveal, a tumor-na'ive cancer screening.        If Guardant continues to disseminate this false and

14 misleading information, Natera will be irreparably harmed, including through the loss of customers,

15   sales, business opportunities, costs, and through harm to its goodwill and reputation. Additionally, if

16 Guardant continues to make these false and misleading statements, the public will be harmed, as

17 physicians will be misled into believing Reveal is more effective than it is. Since the misinformation

18 includes mischaracterizing false negative and false positive rates, patient physical and emotional

19 health is at stake.

20          Natera therefore seeks a TRO prohibiting the continued dissemination of false and misleading

21   statements by Guardant, and an order to show cause why a preliminary injunction should not be issued

22   against Guardant identical to the TRO sought.

23          Natera's motion is based on this notice of motion and supporting memorandum of points and

24 authorities, the supporting declarations of Victoria Maroulis, Alexey Aleshin, the accompanying

25   exhibits to those declarations, Natera's proposed order, as well as other written or oral argument that

26 Natera may present to the Court.

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                                                      APPLICATION FOR TEMPORARY RESTRAINING ORDER
       Case 3:21-cv-04062-EMC Document 62 Filed 07/20/21 Page 3 of 3




 1         Notice of this motion and the requested relief were previously given to Guardant, including

 2 by email to Guardant's counsel, Saul Perloff of Norton Rose Fulbright US, LLP. (See Maroulis

 3 Declaration ,r 22.)

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 5 DATED: July 20, 2021                       Respectfully Submitted,

 6                                            QUINNEMANUELURQUHART&
                                              SULLIVAN, LLP
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 9                                              By           Isl Kevin P.B. Johnson
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